Case 2:04-cr-20448-STA Document 92 Filed 06/02/05 Page 1 of 2 Page|D 83

 

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uNlTEo sTATEs oF AMERch, tg.lr§.Hé§i= `¢’rt?i,‘ Bl§}§a§?§
P|aintiff,
vs.

CR. NO. 04-20448-02-B
DA|VI|EN PAYNE,

Defendants.

 

ORDER ON CONTENUANCE AND SPEC|FYING PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on l\/lay 31 , 2005. At that time, counsel for the
defendant requested a continuance for change of plea.

The Court granted the request and set the change of plea date for Tuesdav, June
21, 2005 at 9:00 a.m., in Cour'troom 1, 11th Floor of the Federa| Building, |Vlemphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice Served in allowing for additional time
to prepare outweigh the need for a eedy tria|.

|T lS SO ORDERED this day Of June, 2005.

 

.D NiEL BRl£EN \
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with Hu!e 55 and/or 32(5) FRCrF' on `-

   

   

UNITED sTATE DISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

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June 8, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

